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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI

MIDLAND STATES BANK,                                     )
                                                         )
        Plaintiff,                                       )
                                                         )
v.                                                       )        Case No. 4:21-cv-00354
                                                         )
YGRENE ENERGY FUND, INC., et al.,                        )
                                                         )
        Defendants.                                      )

            ALTERNATIVE DISPUTE RESOLUTION COMPLIANCE REPORT

                     Complete one option and file this report with the Clerk’s Office:

                                                 Option 1

 An ADR conference has been held. The neutral elects to extend the deadline for completing ADR for
____ days [not to exceed fourteen additional days] and will continue efforts to assist the parties in
reaching a settlement. Revised completion deadline: _____________.
_____________________________________________________________________________________
                                                Option 2

        In accordance with the Court’s Order Referring Case to ADR,

        
        X       A final ADR conference was held on: May 17, 2022.

        
        X       All required individuals, parties, counsel of record, corporate representatives, and/or
claims professionals attended and participated in the ADR conference, and each possessed the requisite
settlement authority;

               The following individuals, parties, counsel of record, corporate representatives, and/or
claims professionals failed to appear and/or participate in good faith as ordered:
_____________________________________________________________________________.
______________________________________________________________________________

                                                                      Xdid not] achieve a
The ADR referral was concluded on May 17, 2022 and the parties [ did 
settlement.
_____________________________________________________________________________________
                                           Option 3

               Although this case was referred to ADR, a conference WAS NOT HELD.


May 17, 2022                              /s/Bradley A. Winters
                                         _____________________________________
Date                                     Neutral
